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                 Exhibit 17
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                               State of California                                              s
                                  Secretary of State
                             Statement of Information                                                                    FN97826
          (Domestic Stock and Ag ricultural Cooperative Corporations)
                    FEES (Filing and Disclosure): $25.00.
                 If this is an amendment, see instructions.
                                                                                                                        FILED
     IMPORTANT - READ INSTRUCTIONS BEFORE C OMPLETING THIS FORM                                            In the office of the Secretary of State
1.   CORPORATE NAME                                                                                               of the State of California
ONLINENIC INC.

                                                                                                                       JUL-24 2017


2. CALIFORNIA CORPORATE NUMBER
                                             C1939078                                                              This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3_ If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
     of State, or no statement of information has been previously filed, this form must be completed in its entirety.
     D Ifofthere has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            State, check the box and proceed to Item 17.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4. STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                             CITY                           STATE        ZIP CODE
3027 TEAGARDEN ST., SAN LEANDRO, CA 94577
5. STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                        CITY                           STATE        ZIP CODE
3027 TEAGARDEN ST., SAN LEANDRO, CA 94577
6.   MAILING ADDRESS OF CORPORATION, IF DIFFERENT THAN ITEM 4                               CITY                           STATE        ZIP CODE




Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7. CHIEF EXECUTIVE OFFICER/      ADDRESS                                                    CITY                           STATE        ZIP CODE
 ZHIPO CHEN       3027 TEAGARDEN ST., SAN LEANDRO, CA 94577
8. SECRETARY                    ADDRESS                                                     CITY                           STATE        ZIP CODE
  REX W LIU  3027 TEAGARDEN ST, SAN LEANDRO, CA 94577
9. CHIEF FINANCIAL OFFICER/       ADDRESS                                                   CITY                           STATE        ZIP CODE
  SILY CHEN      3027 TEAGARDEN ST., SAN LEANDRO, CA 94577
Names and Complete Addresses of All Directors, Including Directors Who are Also Officers (The corporation must have at least one
director. Attach additional pages, if necessary.)
10. NAME                                      ADDRESS                                       CITY                           STATE        ZIP CODE
 CARRIE YU         3027 TEAGARDEN ST, SAN LEANDRO, CA 94577
11. NAME                                      ADDRESS                                       CITY                           STATE        ZIP CODE

12. NAME                                    ADDRESS                                         CITY                           STATE        ZIP CODE

13. NUMBER OF VACANCIES ON THE BOARD OF DIRECTORS, IF ANY:
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 15 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 15 must be left blank.
14. NAME OF AGENT FOR SERVICE OF PROCESS
 REX WEIXUN LIU
15. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                    STATE        ZIP CODE
 3027 TEAGARDEN ST, SAN LEANDRO, CA 94577
Type of Business
16. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
 DOMAIN REGISTRATIONS
17. BY SUBMITTING THIS STATEMENT OF INFORMATION TO THE CALIFORNIA SECRETARY OF STATE, THE CORPORATION CERTIFIES THE INFORMATION
   CONTAINED HEREIN, INCLUDING ANY ATTACHMENTS, IS TRUE AND CORRECT.
07/24/2017      REX W. LIU                                         SECRETARY
  DATE              TYPE/PRINT NAME OF PERSON COMPLETING FORM           TITLE                                              SIGNATURE
Sl-200 ( EV 01/2013)                                                        of                                      APPROVED BY SECRETARY OF STATE



                                                                                                                            ONLINENIC 000073
